Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 1 of 9 PageID 72



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

                              CASE NO.: 2:18-cv-00560-SPC-MRM

 BRYAN E. GLYNN,

                 Plaintiff,

 v.

 CIGAR ROOM CLUBHOUSE LLC dba
 SMOKIN BULL CIGAR ROOM, and
 PROPRINT OF NAPLES, INC. dba THE
 PRINT SHOP,

                 Defendants.


             AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT
                      (INJUNCTIVE RELIEF DEMANDED)

       Plaintiff BRYAN E. GLYNN by and through his undersigned counsel, brings this

Complaint against Defendants CIGAR ROOM CLUBHOUSE LLC dba SMOKIN BULL

CIGAR ROOM and PROPRINT OF NAPLES, INC. dba THE PRINT SHOP, for damages and

injunctive relief, and in support thereof states as follows:

                                 SUMMARY OF THE ACTION

       1.      Plaintiff BRYAN E. GLYNN (“Glynn”), brings this action for violations of

exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute Glynn’s

original copyrighted works of authorship, and for removal of his copyright management

information under 17 U.S.C. § 1202(b).

       2.      Glynn is an experienced professional photographer. Glynn is a master of lighting

with extensive experience in using both natural light and flashes to get spectacular results in any




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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 2 of 9 PageID 73



environment. Glynn also is the founder of CigarObsession (at www.cigarobsession.com) and the

producer of one of the most popular cigar video review YouTube channels.

        3.      Over the years, Glynn has worked in different areas of photography including

architecture, weddings, models, landscapes, concerts, sports, and tabletop. Glynn has won many

awards, both local and National, and his photographs have been published in magazines and

newspapers across the country. Glynn's work can be identified at a glance for its crisp almost 3D

look without using HDR; instead he uses off camera flash for dimension and pop, especially in

his product work, which produces incredible details and dimension that stand out like a

fingerprint for clients.

        4.      Defendant CIGAR ROOM CLUBHOUSE LLC dba SMOKIN BULL CIGAR

ROOM (“SBCR”) is a cigar retail shop and lounge in Naples, Florida.

        5.      Defendant PROPRINT OF NAPLES, INC. dba THE PRINT SHOP (“Proprint”)

is a printing and marketing service in Naples, Florida.

        6.      Glynn alleges that SBCR and Proprint copied Glynn’s copyrighted Work from the

internet in order to advertise, market and promote its business activities. SBCR and Proprint

committed the violations alleged in connection with SBCR’s and Proprint’s business for

purposes of advertising and promoting sales to the public in the course and scope of the SBCR’s

and Proprint’s business.

                                 JURISDICTION AND VENUE

        7.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

        8.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

§§ 1331, 1338(a).

        9.      Defendants are subject to personal jurisdiction in Florida.


                                                  2
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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 3 of 9 PageID 74



        10.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

because the events giving rise to the claims occurred in this district, Defendants engaged in

infringement in this district, Defendants reside in this district, and Defendants are subject to

personal jurisdiction in this district.

                                          DEFENDANTS

        11.     Cigar Room Clubhouse LLC dba Smokin Bull Cigar Room is a Florida limited

liability company with its principal place of business at 1803 Tamiami Trail North, Naples,

Florida, 34102, and can be served by serving its Registered Agent, John Billi, 2800 Gulfshore

Blvd. N, #105, Naples, Florida, 34103.

        12.     Proprint of Naples, Inc., dba The Print Shop is a Florida corporation with its

principal place of business at 2321 Davis Blvd, Naples, Florida 34104, and can be served by

serving its Registered Agent, David Hamilton, at the same address.

                            THE COPYRIGHTED WORK AT ISSUE

        13.     Glynn created 4 photographs which are shown below and referred to herein as the

“Works”.




                                                  3
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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 4 of 9 PageID 75




                                       4
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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 5 of 9 PageID 76




        14.    Glynn registered the Works with the Register of Copyrights on January 21, 2017

and was assigned the registration number VAu 1-271-409. The Certificate of Registration is

attached hereto as Exhibit 1.

        15.    At all relevant times Glynn was the owner of the copyrighted Works at issue in

this case.

                                INFRINGEMENT BY DEFENDANT

        16.    The Defendants have never been licensed to use the Works at issue in this action

for any purpose.

        17.    On a date after the Works at issue in this action were created, but prior to the

filing of this action, Proprint copied the Works.

        18.    Proprint copied Glynn’s copyrighted Works without Glynn’s permission.

        19.    After Proprint copied the Works, it made further copies and distributed the Works

on the internet to promote the sale of goods and services as part of SBCR’s cigar retail business,

on behalf of SBCR.




                                                    5
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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 6 of 9 PageID 77



        20.     Proprint and SBCR copied and distributed Glynn’s copyrighted Works in

connection with Proprint and SBCR’s business for purposes of advertising and promoting

SBCR’s business, and in the course and scope of advertising and selling products and services.

        21.     Glynn’s Works are protected by copyright but are not otherwise confidential,

proprietary, or trade secrets.

        22.     Proprint and SBCR committed copyright infringement of the Works as evidenced

by the documents attached hereto as Exhibit 2.

        23.     Glynn never gave the Defendants permission or authority to copy, distribute or

display the Works at issue in this case.

        24.     Glynn notified the SBCR of the allegations set forth herein on February 12, 2018

and April 17, 2018. To date, SBCR has failed to respond to Plaintiff’s Notices. Copies of the

Notices to SBCR are attached hereto as Exhibit 3.

                                          COUNT I
                                 COPYRIGHT INFRINGEMENT
                                 AGAINST BOTH DEFENDANTS

        25.     Plaintiff incorporates the allegations of paragraphs 1 through 24 of this Complaint

as if fully set forth herein.

        26.     Glynn owns a valid copyright in the Works at issue in this case.

        27.     Glynn registered the Works at issue in this case with the Register of Copyrights

pursuant to 17 U.S.C. § 411(a).

        28.     The Defendants copied, displayed, and distributed the Works at issue in this case

and made derivatives of the Works without Glynn’s authorization in violation of 17 U.S.C. §

501.




                                                 6
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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 7 of 9 PageID 78



        29.     The Defendants performed the acts alleged in the course and scope of their

business activities.

        30.     Glynn has been damaged.

        31.     The harm caused to Glynn has been irreparable.

                                COUNT II
              REMOVAL OF COPYRIGHT MANAGEMENT INFORMATION
                     AGAINST PROPRINT OF NAPLES, INC.

        32.     Plaintiff incorporates the allegations of paragraphs 1 through 24 of this Complaint

as if fully set forth herein.

        33.     The Works at issue in this case contain copyright management information

(“CMI”).

        34.     Proprint knowingly and with the intent to enable or facilitate copyright

infringement, removed CMI from the Works at issue in this action in violation of 17 U.S.C. §

1202(b).

        35.     Proprint committed these acts knowing or having reasonable grounds to know that

it will induce, enable, facilitate or conceal infringement of Glynn’s rights in the Works at issue in

this action protected under the Copyright Act.

        36.     Proprint caused, directed and authorized others commit these acts knowing or

having reasonable grounds to know that it will induce, enable, facilitate or conceal infringement

of Glynn’s rights in the Works at issue in this action protected under the Copyright Act.

        37.      Glynn has been damaged.

        38.     The harm caused to Glynn has been irreparable.

        WHEREFORE, the Plaintiff prays for judgment against the Defendants that:




                                                 7
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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 8 of 9 PageID 79



          a.     Defendants and their officers, agents, servants, employees, affiliated entities, and

all of those in active concert with them, be preliminarily and permanently enjoined from

committing the acts alleged herein in violation of 17 U.S.C. §§ 501, 1203;

          b.     Defendants be required to pay Plaintiff his actual damages and Defendants’ profits

attributable to the infringement, or, at Plaintiff’s election, statutory damages, as provided in 17

U.S.C. §§ 504, 1203.

          c.     Plaintiff be awarded his attorneys’ fees and costs of suit under the applicable

statutes sued upon; and

          d.     Plaintiff be awarded such other and further relief as the Court deems just and

proper.

                                           JURY DEMAND

          Plaintiff hereby demands a trial by jury of all issues so triable.

DATED: October 11, 2018                          Respectfully submitted,


                                                 /s/ Joel B. Rothman
                                                 JOEL B. ROTHMAN
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                                                     8
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Case 2:18-cv-00560-SPC-MRM Document 16 Filed 10/11/18 Page 9 of 9 PageID 80



                                CERTIFICATE OF SERVICE

        The undersigned does hereby certify that on October 11, 2018, a true and correct copy of
the foregoing document was sent via electronic mail by the Court’s CM/ECF System to all
parties listed below on the service list.


                                            /s/ Joel B. Rothman
                                            JOEL B. ROTHMAN


                                       SERVICE LIST

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                                               9
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